 

Case 2:21-cv-12284-MAG-KGA ECF No. 12-2, PagelD.129 Filed 12/02/21 Page 1of4

EXHIBIT 1

 
Case 2:21-cv-12284-MAG-KGA_ ECF No. 12-2, PagelD.130 Filed 12/02/21 Page 2 of 4

 

9/11/21, 5:12 PM Gmail - Picture of James P. Allen and David Jones

Pes; Gmail Susana Hamad <susanahamad2@gmail.com>

 

Picture of James P. Allen and David Jones

 

James Allen <JamesAllen@allenbrotherspllc.com> Thu, Aug 19, 2021 at 12:43 AM
To: Susana Hamad <susanahamad2@gmail.com>

Yo Kev... mean limp Chuck Whocan't ****....just finished, you piece of garbage with no life. | couldn't help it. It was
fantastic and | did think of you but only to feel pity and get a hearty laugh at your, well, obvious deficiencies. | mean, it
isn't always the case that fellas like me from the place you are from can say that it's YOU have a chance in hell of
competing even if your tongue works half as well as even an over-the-hill boy as the best part of me does. Anyways, limp
Chuckie, sweet dreams. Right. Dreams. If you are supremely lucky That's the best you'll ever do, even if the washed up
loser crook you are working for gives you enough of his product to have those dreams. So keep it up, Limp Chuckie
Darkbad. | promise you, whatever you do won't cost me a penny. But it will serve as a reminder to me to remind you that
not even Dr. Hims and the blues can help you. This washed up hack grey haired mother fucker will be closer to Wilt than
you. Not because size matters but because God recognized evil and sentenced you to sit while people like me run free
and spread our DNA into the universe like you CAN'T. Haha Reek. Sit down and stay down where that bullet justly put
you, punk. Back to your regularly scheduled sit down.

Ps: no knuckles worn out in my shoes, Kev. Thanks to you, Wheelboy, | got money to buy us both a pair of gators, not
that yours will ever see the pavement. The more you play, moreover, the better for me. And you teaming up with your
crusading friends? That's music to my ears. All | can say, Kevin, is more more more. We love people like you. My
children thank you, in fact, for the college money. Without you, Kevin, and your diamond points, there is no us. From the
bottom of my satisfied selfs contented heart, thank you for the many hours you keep my colleagues occupied. The Allen-
Jones Family educational scholarship fund thanks you as well.

Well Kev, sweet dreams. May your dreams be half as good as the reality you and your malcontented piece of horse dung
cohorts provide for me and Potna Jones.

Sent from my iPhone

On Aug 18, 2021, at 6:37 PM, James Allen <JamesAllen@allenbrotherspllc.com> wrote:

That's funny, Kev...1 mean Chuck Whocan’t ****. | prefer Tracey Morgan, though, for my parody and satire.

Well, at least | know now that blond isn't an improvement on the greys.

Time for me to stand up and take a walk. | love to walk. And run. And do other things that others can’t.
God doth have a great sense of humor and, in your case, a keen sense of justice. Whatever it is that you
think you can do to us, keep in mind that it won’t help you. Whatever jollies you are getting is no
replacement for what God justly ordained to take from you. Accounts come and go for us. We win some
we lose some. We carry on together as brothers. At the end of the day, | still have my brother/partner. But
you, you cowardly piece of filth that God has justly condemned as He has and who doesn’t have the
courage to use his real name, will be where you are today for as long as you draw breath. | won't be
thinking of you later tonight when | do that thing that you can’t. In fact, when I’m done, I'll have yet another
good laugh reflecting on the fact that you can’t and never will. And whatever you think you can and will do
to me and my partner, won’t change any of that. You won’t succeed, but even if you do, | want you to know
that | know that you are where you are because you so clearly and richly deserve to be there.

From: Susana Hamad <susanahamad2@gmail.com>
Sent: Wednesday, August 18, 2021 4:19 PM

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9/11/21, 5:12 PM Gmail - Picture of James P. Allen and David Jones

To: rfaraj@hamtramckcity.com; James Allen <JamesAllen@allenbrotherspllc.com>; Harry Kalogerakos
<kalo@allenbrotherspllc.com>; David Jones <DJones@allenbrotherspllc.com>;
kangerer@hamtramckcity.com; fal-marsoumi@hamtramckcity.com; kmajewski@hamtramckcity.com;
malsomiri@hamtramckcity.com; mhassan@hamtramckcity.com; nchoudhury@hamtramckcity.com;
salmasmari@hamtramckcity.com

Subject: Picture of James P. Allen and David Jones

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Case 2:21-cv-12284-MAG-KGA ECF No. 12-2, PagelD.132 Filed 12/02/21 Page 4 of 4

9/11/21, 5:12 PM Gmail - Picture of James P. Allen and David Jones

Re, Gmail Susana Hamad <susanahamad2@gmail.com>

 

Picture of James P. Allen and David Jones

 

James Allen <JamesAllen@allenbrothersplilc.com> Thu, Aug 19, 2021 at 1:11 AM
To: Susana Hamad <susanahamad2@gmail.com>

Who the ******* now ****** ******2 | ololol. Saw you seated today and yesterday and will see you seated for as long as
the Good Lord sentenced you. | don't deserve what you think you are giving, But you surely deserved that bullet God
sent to put you where you are when you read this and where you will ALWAYS be, haha, unable to be the man you ever
were. How fitting for such a coward. Please please please send these emails to people and say | should be cancelled for
dogging a pathetic little wheelboy like you out. | dare you. | beg you, cowardly punk. How rotten of you to use an Arabic
name for this. Come on back at me. Go find a Susana Hamad willng to admit they sent what you did.

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YOU have a chance in hell of competing even if your tongue works half as well as even an over-the-hill boy
as the best part of me does. Anyways, limp Chuckie, sweet dreams. Right. Dreams. If you are supremely
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